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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT


TARAKAA BERTRAND                                    :
                                                    :
         Plaintiff                                  :               CIVIL ACTION NO.:
                                                    :               3:15-cv-01128-WWE
vs.                                                 :
                                                    :
YALE UNIVERSITY                                     :
                                                    :               September 4, 2015
         Defendant                                  :


                     REPORT OF PARTIES’ PLANNING CONFERENCE

Date Complaint Filed:                 July 23, 2015
Date Complaint Served:                August 5, 2015
Date of Defendant’s Appearance:       July 30, 2015


         Pursuant to Fed. R. Civ. P. 16(b), 26(f) and D. Conn. L. Civ. R. 16, a conference was

held on August 31, 2015. The participants were:

         Counsel for plaintiff, Tarakaa Bertrand:

                 Barbara J. Collins, Esq.               Milo Silberstein, Esq.
                 Law Offices of Barbara Collins         Dealy Silberstein & Braverman, LLP
                 557 Prospect Avenue                    225 Broadway, Suite 1405
                 Hartford, CT 06105                     New York, NY 10007
                 Telephone: (860) 570-4627              Telephone: (212) 385-0066
                 Fax: (860) 920-5187                    Fax: (212) 385-2117
                 barbarajcollins@gmail.com              msilberstein@dsblawny.com

         Counsel for defendant, Yale University:

                 Patrick M. Noonan, Esq.
                 Donahue, Durham & Noonan, P.C.
                 741 Boston Post Road, Suite 306
                 Guilford, CT 06437
                 Telephone: 203-458-9168
                 Fax: 203-458-4424
                 pnoonan@ddnctlaw.com
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I.       CERTIFICATION

         Undersigned counsel certify that, after consultation with their clients, they have

discussed the nature and basis of the parties’ claims and defenses and any possibilities for

achieving a prompt settlement or other resolution of the case and, in conjunction with their

clients, have developed the following proposed case management plan. Counsel further certify

that they have forwarded a copy of this report to their clients.


II.      JURISDICTION

         A.     Subject Matter Jurisdiction.

         This Court has subject matter jurisdiction over the plaintiff’s claims pursuant to 28

U.S.C. § 1332(a)(1).

         B.     PERSONAL JURISDICTION.

         The parties stipulate that they are subject to the personal jurisdiction of this Court.


III.     BRIEF DESCRIPTION OF THE CASE

         A.     Claims of Plaintiff:

         Plaintiff alleges that Yale University breached plaintiff’s July 9, 2014 Employment

Agreement by terminating the plaintiff without cause and violated the implied covenant of good

faith and fair dealing.

         B.     Defense and Claims of Defendant:

         Yale University denies it breached plaintiff’s contract and violated the implied covenant

of good faith and fair dealing.




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IV.     STATEMENT OF UNDISPUTED FACTS

        Counsel certify that they have made a good faith attempt to determine whether there

are any material facts that are not in dispute. The parties state that the following material facts

are undisputed:

        1.     The plaintiff was hired as Head Coach of Yale University’s Women’s Tennis

               Team commencing on July 1, 2014.

        2.     The plaintiff was terminated on April 15, 2015.


V.      CASE MANAGEMENT PLAN

        A.     Standing Order on Scheduling in Civil Cases.

        The parties do not request modification of the deadlines in the Standing Order on

Scheduling in Civil Cases at this time, but reserve the right to do so if deemed necessary.

        B.     Scheduling Conference with the Court.

        The parties do not request a pretrial conference with the Court before entry of a

scheduling order pursuant to Fed. R. Civ. P. 16(b).

        C.     Early Settlement Conference.

               1.      The parties certify that they have considered the desirability of

attempting to settle the case before undertaking significant discovery or motion practice.

Settlement is unlikely at this time.

               2.      The parties do not request an early settlement conference.

               3.      When a settlement conference is held, the parties prefer a settlement

conference with a magistrate judge.




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               4.      The parties do not request a referral for alternative dispute resolution

pursuant to D. Conn. L. Civ. R. 16.

       D.      Joinder of Parties and Amendment of Pleadings.

               1.      The plaintiff should be allowed until September 21, 2015 to file motions

to join additional parties and until September 21, 2015 to file motions to amend the pleadings.

               2.      Yale University should be allowed until October 15, 2015 to file

motions to join additional parties.

               3.      Yale University should be allowed until October 23, 2015 to file

motions to dismiss or to answer the complaint.

       E.      Discovery.

               1.      The parties anticipate that discovery will be needed as to the plaintiff’s

allegations that Yale University breached plaintiff’s Employment Agreement by terminating

her employment on April 15, 2015 and the plaintiff’s damages.

               2.      All discovery, including deposition of expert witnesses pursuant to Fed.

R. Civ. P. 26(b)(4), will be commenced by September 30, 2015 and completed (not

propounded) by July 29, 2016.

               3.      Discovery will not be conducted in phases.

               4.      Discovery will be completed no later than July 29, 2016.

               5.      The parties anticipate that the plaintiff will require a total of ten (10)

depositions of fact witnesses and that Yale University will require a total of ten (10)

depositions of fact witnesses. The depositions will commence by September 30, 2015 and will

be completed by July 29, 2016.




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               6.      The parties do not anticipate requesting permission to serve more than

25 interrogatories.

               7.      Plaintiff may call expert witnesses at trial. Plaintiff will designate all

trial experts and provide opposing counsel with reports from retained experts pursuant to Fed.

R. Civ. P. 26(a)(2) by December 31, 2015. Depositions of any such experts will be completed

by March 29, 2016.

               8.      Yale University may call expert witnesses at trial. Defendants will

designate all trial experts and provide opposing counsel with reports from retained experts

pursuant to Fed. R. Civ. P. 26(a)(2) by April 29 , 2016. Depositions of any such experts will

be completed by July 29, 2016.

               9.      A damages analysis will be provided by any party who has a claim or

counterclaim of damages by October 15, 2015.

               10.     Undersigned counsel have discussed discovery procedures that

minimize the risk of waiver of privilege or work-product protection, including procedures for

asserting claims of privilege after production. The parties agree to the following procedures

for asserting claims of privilege after production: if any information that is privileged or

subject to work-product protection is disclosed, the party to whom it is disclosed will notify

opposing counsel and opposing counsel will have 30 days to assert the privilege and seek

return of the information. The party to whom the information is disclosed agrees not to review

the information after recognizing that a privilege or work-product protection applies and

further not to duplicate the information or further disclose it.




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        F.      Dispositive Motions.

        Dispositive motions will be filed not later than October 31, 2016.

        G.      Joint Trial Memorandum.

        The joint trial memorandum required by the Standing Order on Trial Memoranda in

Civil Cases will be submitted within 45 days of the ruling on dispositive motions, should such

motions be filed, or within 45 days after the parties notify one another that dispositive motions

will not be filed.


VI.     TRIAL READINESS

        The case will be ready for trial within 30 days of the filing of a joint trial

memorandum.


        As officers of the Court, undersigned counsel agree to cooperate with each other and

the Court to promote the just, speedy and inexpensive determination of this action.


                                                     THE PLAINTIFF
                                                     TARAKAA BERTRAND

                                                BY:___/s/
                                                   Barbara J. Collins, Esq.
                                                   Law Offices of Barbara Collins
                                                   557 Prospect Avenue
                                                   Hartford, CT 06105
                                                   (860) 570-4627


                                                     ___/s/___________________________
                                                     Milo Silberstein, Esq.
                                                     Dealy Silberstein & Braverman, LLP
                                                     225 Broadway, Suite 1405
                                                     New York, NY 10007
                                                     (212) 385-0066



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                                      THE DEFENDANT
                                      YALE UNIVERSITY


                                  BY:___/s/
                                     Patrick M. Noonan
                                     Donahue, Durham & Noonan, P.C.
                                     741 Boston Post Road
                                     Guilford, CT 06437
                                     (203) 458-9168




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